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          Exhibit F
Filed Under Seal
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                     APPLE INC., et aI.
                              v.
         SAMSUNG ELECTRONICS CO., LTD.,




        GERT-]ANVAN LIESHOUT - Vol. 1
                      November 4, 2011




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      1            appreciates it as well.                                     09:40:30

     2                    (Record read as requested.)                          09:40:31

      3                   MR. MACK:    Again, I'll instruct you                09:40:52

      4            to answer yes or no if you've had training,                 09:40:54

      5            not to reveal the contents of any                           09:40:56

      6            conversations with any attorneys, Samsung                   09:41:00

      7            attorneys.                                                  09:41:01

      8            A.     No.                                                  09:41:01

      9            Q.     Have you ever seen any written                       09:41:02

    10     documents that set forth any procedures or                          09:41:03

    11     policies that have been adopted by Samsung in                       09:41:06




•
    12     terms of under what circumstances it should                         09:41:10

    13     declare IPR that might or is standards                              09:41:13

    14     essential?                                                          09:41:18

    15                    MR. MACK:    And again -- first,                     09:41:19

    16             objection; compound.     But as the question                09:41:21

    17             is phrased it's okay, it calls for a yes or                 09:41:22

    18             no answer.   But just answer yes or no.                     09:41:25

    19             A.     Could you repeat the question?                       09:41:27

     20            Q.     I'm going to ask him to repeat it.                   09:41:29

     21    I'll never get it straight again.                                   09:41:31

     22                   (Record read as requested.)                          09:41:52

     23            A.     No.                                                  09:41:53

     24            Q.     Have you ever, sir, in any of the                    09:41:53



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      1    nine years that you have been participating for                     09:41:55

      2    Samsung in the RAN 2 working group, gone back to                    09:41:57

      3    anyone at Samsun.g and said hey, we have a                          09:42:00

      4    responsibility to disclose either IPR that is or                    09:42:03

      5    may become standards essential?                                     09:42:09

      6                   MR. MACK:    Objection; form,                        09:42:11

      7            compound, incomplete hypothetical.                          09:42:12

      8            A.     So I will help.     We have a process.               09:42:15

      9    I have not seen that in written form.        But we                 09:42:17

     10    have a process.                                                     09:42:19

     11            Q.     But can you answer my question?                      09:42:20




•    12

     13

     14
           time.
                   A.



                   Q.
                          Please repeat.     It will take a long



                          But you got -- one thing that is
                                                                               09:42:21

                                                                               09:42:24

                                                                               09:42:25

     15    really important, is you got to listen to my                        09:42:27

     16    question and answer that question.                                  09:42:30

     17                   (Record read as requested.)                          09:42:32

     18            A.     So this is not how it works.       We                09:42:54

     19    have a meeting after roughly one year, and then                     09:42:57

     20    we go through what happened to our patents with                     09:42:59

     21    respect to the standard with a patent engineer.                     09:43:01

     22    That's the process.     And then -- then from                       09:43:05

     23    there, there it stops for the standards                             09:43:09

     24    engineer.    So the rest of the declaration is in                   09:43:12



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      1    the hands of the team, the patent team.                             09:43:14

      2            Q.     And are there documents that set                     09:43:16

      3    forth that policy that you've just expressed to                     09:43:18

      4    me?                                                                 09:43:20

      5            A.     I've never seen these documents, so                  09:43:20

      6    that's why I answered no.                                           09:43:26

      7            Q.     Okay.   So let me make sure I                        09:43:26

      8    understand what you've just told me.       That on a                09:43:27

      9    yearly basis, once a year, there is a meeting                       09:43:29

     10    with a broader group of people at Samsung that                      09:43:33

     11    you as a standards engineer participate in; is                      09:43:36




•    12    that right?                                                         09:43:39

     13                   MR. MACK:   Objection to form;                       09:43:39

     14            misstates prior testimony.                                  09:43:40

     15            A.     So once a year, roughly once a year                  09:43:41

     16    there will be one patent engineer coming who is                     09:43:43

     17    a bit knowledgeable in the area, and you go                         09:43:45

     18    through what happened to your patents from the                      09:43:47

    19     last year.                                                          09:43:49

     20    DIR     Q.     Okay.   And when you say you go                      09:43:49

     21    through what happened to your patents for the                       09:43:51

     22    last year, what do you mean?                                        09:43:52

     23                   MR. MACK:   I'll instruct you not to                 09:43:53

     24            answer that question.    The patent engineer                09:43:54



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     1             that he's communicating with is a member of .               09:43:57

      2            the legal team at Samsung.                                  09:44:00

      3                   MR. GUNTHER:     How do you know that?               09:44:01

      4                   MR. MACK:     Because I'm his counsel.               09:44:03

      5            We've gone over this.                                       09:44:05

      6            Q.     Let me ask you a couple of                           09:44:07

      7    questions.    Who comes -- is it somebody that                      09:44:08

      8    comes from Korea?                                                   09:44:11

      9                   THE WITNESS:     Can I answer that?                  09:44:13

    10                    MR. MACK:     Sure, yes.   Yes or no.                09:44:14

    11             A.     Yes.                                                 09:44:16




•   12             Q.     Okay.    Is it the same person that                  09:44:16

    13     comes every year?                                                   09:44:18

     14            A.     No.                                                  09:44:20

     15            Q.     Okay.    Is it a different person                    09:44:20

    16     every year?                                                         09:44:22

     17            A.     I have been in a few -- it can be a                  09:44:24

    18     different person.      Or the same.                                 09:44:29

     19            Q.     Do you know -- I mean, do you get                    09:44:31

     20    familiar with these people over time?                               09:44:33

     21            A.     Not really.     They are sometimes in                09:44:35

     22    the work group, but they don't speak, so.                           09:44:39

     23            Q.     All right.                                           09:44:40

     24                   Now, sir, in 2004, do you know                       09:44:41



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     1    worked for, don't bring in IPRs before they have                     09:59:43

      2   been declared, accepted in the standard.                             09:59:46

      3            Q.      Samsung doesn't do that?                            09:59:48

      4                    MR. MACK:   Objection to form; calls                09:59:49

      5            for speculation.                                            09:59:50

      6            A.      I'm not involved in the declaration                 09:59:51

      7    process.     But given the process, that part I am                  09:59:52

      8    involved, I would assume that Samsung does not                      09:59:56

      9    do that.     But neither does any company I know                    09:59:58

    10     of.                                                                 10:00:00

    11             Q.      Now, sir, I'm not asking about                      10:00:00




•   12     anybody else.     You've got to answer my question.                 10:00:02

    13     I'm not asking about Erickson or anybody else.                      10:00:03

    14     I'm asking about Samsung, the company that                          10:00:06

    15     you've worked with -- you've worked for since                       10:00:07

    16     2003.                                                               10:00:10

    17                     And my question, sir, is based on                   10:00:11

    18     your experience, as somebody who's filed, you                       10:00:13

    19     know, hundreds of patent applications on behalf                     10:00:15

    20     of the work that you've done as a standards                         10:00:18

    21     engineer at Samsung, I'm asking you, sir, are                       10:00:21

     22    you aware of any instance in any of those                           10:00:23

    23     hundreds of patent applications where Samsung                       10:00:26

     24    declared a particular patent application,                           10:00:29



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      1    according to the call for IPR, as something that                    10:00:33

      2    was likely to become essential with respect to                      10:00:38

      3    the work of the standard?                                           10:00:41

      4                    MR. MACK:    Objection; asked and                   10:00:42

      5            answered, form,     compound, misstates prior               10:00:44

      6            testimony.                                                  10:00:47

      7            A.      So in general I'm not aware of when                 10:00:48

      8    Samsung declares.     I already indicate that.      I'm             10:00:50

      9    not allowed to say anything else, right, you                        10:00:54

     10    only want the answer.                                               10:00:56

     11            Q.      Well, sir, I guess I'm asking you                   10:00:56




•    12    are you aware with respect to any of your                           10:00:58

    13     hundreds of Samsung patent applications that                        10:01:00

     14    have been filed in your name while you've been                      10:01:03

     15    working for Samsung, can you give me any                            10:01:05

     16    instance in which there was one of those patent                     10:01:07

     17    applications has been declared as something that                    10:01:09

     18    is likely to become essential to the standard as                    10:01:12

     19    opposed to having actually become essential to                      10:01:15

     20    the standard?                                                       10:01:18

     21                    MR. MACK:    Objection to form;                     10:01:18

     22            compound, calls for speculation, calls for                  10:01:20

     23            a legal opinion.                                            10:01:22

     24            A.      I'm not aware of any of my IPRs                     10:01:22



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      1    being declared to any SDO.                                          10:01:25

      2            Q.      At all?                                             10:01:26

      3            A.      I'm not involved in that process.                   10:01:28

      4            Q.      Okay, all right.                                    10:01:30

      5                    So you don't have any involvement                   10:01:32

      6    in that process whatsoever?                                         10:01:39

      7            A.      No involvement.                                     10:01:41

      8            Q.      Okay.     So if you have no                         10:01:42

      9    involvement in that process -- well, let me just                    10:01:44

     10    ask you this:     Is it your experience in terms of                 10:01:48

     11    the delegates that you've worked with on the RAN                    10:01:51




•    12    2 working group, do any of them get involved in                     10:01:53

     13    that, in declaring IPR?                                             10:01:56

     14                    MR. MACK:    Objection to form; calls               10:01:57

     15            for speculation.                                            10:01:59

    16             Q.      That you're aware of.                               10:01:59

     17            A.      In what I tried to say before, in                   10:02:01

     18    neither companies that I've worked before, the                      10:02:03

     19    delegates are not involved in that.                                 10:02:06

     20            Q.      Not involved.                                       10:02:08

     21                    So why are the delegates then told                  10:02:08

     22    about the call for IPR if they are not involved                     10:02:10

     23    in that?                                                            10:02:13

     24                    MR. MACK:    Objection; calls for                   10:02:14



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      1            speculation.                                                 10:02:15

      2            A.     I speculate.     I assume the                         10:02:15

      3    declaration was there because there may be small                     10:02:18

      4    companies not familiar with the process that at                      10:02:18

      5    some point you should declare.        So this is a                   10:02:20

      6    general reminder for these new entrants or these                     10:02:21

      7    smaller companies.                                                   10:02:23

      8            Q.     Do you know that for a fact?                          10:02:24

      9            A.     No, no.     I don't.   Speculation.                   10:02:25

     10            Q.     Speculation, okay, fair enough.                       10:02:26

     11    And I appreciate the fact that you're candid                         10:02:29




•   12     about it being speculation.                                          10:02:31

     13                   Do you have any knowledge as to why                   10:02:32

     14    the call for IPR is placed in -- as something                        10:02:34

     15    that's made at the -- towards the beginning of                       10:02:39

     16    every working group meeting?                                         10:02:42

     17                   MR. MACK:     Objection; foundation,                  10:02:43

     18            calls for speculation.                                       10:02:44

     19            A.     I can guess.                                          10:02:46

     20            Q.     You don't know?                                       10:02:47

     21            A.     No, I don't.                                          10:02:48

     22            Q.     And, sir, that's not something as                     10:02:48

     23    chairman of the RAN 2 working group that you                         10:02:50

     24    ever tried to determine?                                             10:02:52



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      1                   MR. MACK:     Objection; calls for                    10:27:34

      2            speculation, form.                                           10:27:36

      3            A.     I don't know every individual one,                    10:27:38

      4    right, but I assume they are related to the                          10:27:40

      5    radio access network system or to the mobile or                      10:27:42

      6    to the protocols, yes.                                               10:27:45

      7            Q.     Okay.   And, sir, do you know how                     10:27:46

      8    many of your patents -- let me ask you this:                         10:27:48

      9    When you file a patent application, do you get                       10:27:51

    10     some kind of compensation from Samsung?                              10:27:53

     11            A.     We get some kind of compensation.                     10:27:55




•
    12             Q.     Okay.   And that's for every patent                   10:27:57

     13    application that's filed?                                            10:27:59

     14            A.     I think so, yes.                                      10:28:01

    15             Q.     Okay.                                                 10:28:06

    16             A.     A small amount I think when --                        10:28:07

    17     there is different steps.       And you get -- I                     10:28:09

     18    really don't know the details.                                       10:28:13

     19            Q.     Okay.   Tell me what you can recall                   10:28:15

    20     about the details.                                                   10:28:16

     21            A.     So I think we get some money when                     10:28:17

     22    you file.    And you get some money when it's                        10:28:19

     23    granted.                                                             10:28:23

     24            Q.     When the patent is granted?                           10:28:24



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      1            A.     I think so.                                           10:28:25

      2            Q.     Okay.   How about, do you get any                     10:28:26

      3    money if the patent is declared essential to a                       10:28:28

      4    standard?                                                            10:28:30

      5            A.     So I think how it works is that we                    10:28:32

      6    have this yearly meeting and then we more or                         10:28:36

      7    less see -- we don't discuss this essential, but                     10:28:38

      8    whether it's really ended up in the spec.                            10:28:41

      9            Q.     Okay.                                                 10:28:42

     10            A.     And we have some targets that you                     10:28:43

     11    should try to have a number of patents that                          10:28:45




•    12    ended up in the spec.                                                10:28:47

     13            Q.     In the standard?                                      10:28:48

     14            A.     In the standard.                                      10:28:48

     15            Q.     Okay.   When you say a target, tell                   10:28:49

     16    me what you mean by a target.                                        10:28:52

     17            A.     I think my target is one patent per                   10:28:54

     18    year which ended up in the spec, at the moment.                      10:28:56

     19            Q.     Okay.   So you're basically given a                   10:28:59

     20    target as part of your job responsibilities to                       10:29:02

     21    try to get at least one patent included in the                       10:29:05

     22    specification, some part of the 3GPP                                 10:29:08

     23    specification each year; is that correct?                            10:29:12




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     24            A.     So for at least for last year I had                   10:29:15




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      1    a target I think of one patent, to get one                            10:29:17

      2    standardized patent.                                                  10:29:20

      3            Q.      Did you hit that target last year?                    10:29:22

      4            A.     As a co-inventor, yeah.                                10:29:24

      5            Q.     Okay.   Did you exceed the target?                     10:29:26

      6            A.     Well, actually, as I said, I don't                     10:29:30

      7    care so much about patents, right.        So there was                10:29:32

      8    one patent which I was quite heavily involved                         10:29:35

      9    in.     But I'm the coordinator, so of course I'm                     10:29:38

     10    involved in many discussions, right, and I help                       10:29:40

     11    people and give them an idea.       And, but I don't                  10:29:42




•    12    keep track exactly of how many patents, where                         10:29:45

     13    really the main responsibility is by somebody                         10:29:50

     14    else, that made it into the spec.                                     10:29:52

     15            Q.     Okay.   But is your target satisfied                   10:29:54

     16    if as a co-inventor you        one of your patent                     10:29:56

     17    applications makes its way into the standard?                         10:30:03

     18                   MR. MACK:    Objection; form.                          10:30:05

    19             A.     At least -- well, Samsung has never                    10:30:06

     20    pushed me really that hard on these targets.           So             10:30:11

     21    there is roughly you meet the target.        I think                  10:30:14

     22    even if you don't meet the target they wouldn't                       10:30:16

     23    fire me.                                                              10:30:18

                   Q.     Right, right.                                          10:30:19



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      1                    If you meet the target, can that                     10:30:19

      2    increase your pay in some way, your                                  10:30:21

      3    compensation?                                                        10:30:23

      4            A.      So we have -- we have five or six                    10:30:24

      5    targets, this is one of them.       And in general                   10:30:28

      6    that determines your pay rises.                                      10:30:30

      7            Q.      Your pay rise?                                       10:30:33

      8            A.      Yes.                                                 10:30:34

      9            Q.      For the next cycle?                                  10:30:34

    10             A.      Yes.                                                 10:30:35

    11             Q.      And is that done on a yearly basis?                  10:30:36




•
    12             A.      Yes.                                                 10:30:38

    13             Q.      What are the five targets?                           10:30:38

    14             A.      So my targets would be, be a good                    10:30:41

    15     RAN 2 chairman, responsible, recognize positive                      10:30:45

    16     feedback.                                                            10:30:48

    17             Q.      Right.                                               10:30:48

    18             A.      Have a number of contributions.                      10:30:49

    19             Q.      What does that mean, a number of                     10:30:53

     20    contributions?                                                       10:30:57

     21            A.      So documents into the 3GPP group,                    10:30:57

     22    submitted to 3GPP.                                                   10:31:00

     23            Q.      Change requests?                                     10:31:01

     24            A.      Or other discussion documents.                       10:31:02



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      1             Q.      Okay.                                               10:31:04

      2             A.      My reports also count as the                        10:31:04

      3    chairman.                                                            10:31:07

      4             Q.      As the chairman, okay.     So that's                10:31:07

      5    two.                                                                 10:31:10

      6             A.       Provide timely reports.                            10:31:11

      7             Q.      Okay.                                               10:31:13

      8             A.      Of the meetings.                                    10:31:14

      9             Q.      Let me ask you about that.                          10:31:17

     10                     Well, let's get the five and then                   10:31:20

     11    I ' l l come back and ask you about that.      So I've               10:31:22




•    12    got                                                                  10:31:24

     13             A.       I think you have the main four now.                10:31:25

     14             Q.       I have be a good chairman, right,                  10:31:26

     15    which is a good thing, I suppose, to have as a                       10:31:28

     16    target.       Provide good proposals to the --                       10:31:32

     17             A.      Number.                                             10:31:38

     18             Q.      A good number of proposals to the                   10:31:39

    19     working group, whether they be proposals or                          10:31:41

     20    change requests or things of that nature?                            10:31:43

     21             A.      Discussion documents.                               10:31:45

     22             Q.       Discussion documents.                              10:31:45

     23                     The third is to provide timely                      10:31:46




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     24    reports of the meetings?                                             10:31:48




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      1            A.     Within two days after the meeting.                    10:31:50

      2            Q.     Within two days after the meeting.                    10:31:51

      3            A.     Internal reports, that is.                            10:31:53

      4            Q.     Okay.    And then a fourth target is                  10:31:56

      5    having at least one IPR declared --                                  10:32:00

      6            A.     One patent which made it somehow in                   10:32:05

      7    the spec.                                                            10:32:07

      8            Q.     Into the specification, into the                      10:32:08

      9    standard; right?                                                     10:32:10

     10            A.     Yes.                                                  10:32:11

     11            Q.     Okay.    Was there a fifth,    or is                  10:32:11




•    12    that the four?                                                       10:32:13

     13            A.     I think make Samsung a recognized                     10:32:14

     14    player in standards, or something like that.                         10:32:18

    15             Q.     Okay.    So make Samsung a recognized                 10:32:20

    16     player in standards?                                                 10:32:23

     17            A.     An appreciated player.                                10:32:23

     18            Q.     And, sir, so after each meeting,                      10:32:25

     19    within two days you provide an internal report                       10:32:28

     20    with respect to that?                                                10:32:32

     21            A.     Yeah, I think some of them you                        10:32:33

     22    have.    Or I've even at least that they came out                    10:32:35

     23    of the search, that type of report.                                  10:32:38

     24            Q.     Okay.   All right.                                    10:32:39



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      1    superiors at Erickson ever giving you that type                      10:41:47

      2    of a target?                                                         10:41:51

      3            A.     No.     But in general I don't                        10:41:52

      4    remember so much details about that period.                          10:41:54

      5            Q.     It's a long time ago.      Fair enough.               10:41:56

      6    Fair enough.                                                         10:41:58

      7                   Is Apple, are any delegates from                      10:41:58

      8    Apple members of the RAN 2 working group?                            10:42:01

      9                   MR. MACK:     Objection; calls for                    10:42:04

    10             speculation.                                                 10:42:06

    11             A.      I've'seen them in RAN, the plenary.                  10:42:07




•
     12    And they might have been in RAN, but they have                       10:42:12

     13    not spoken, at least as far as I'm aware.                            10:42:14

     14            Q.     Are you aware of any meeting that                     10:42:16

     15    you've been at for the RAN 2 working group where                     10:42:17

    16     somebody from Apple's been in attendance?                            10:42:21

     17                   MR. MACK:     Objection; calls for                    10:42:23

     18            speculation.                                                 10:42:24

    19             A.     Not that I'm aware.                                   10:42:25

     20            Q.     Okay.    Let me ask you if you can                    10:42:27

     21    turn to the '941 patent that we've marked as                         10:42:33

     22    Exhibit 1.     I hope that you have that still                       10:42:37

     23    hanging around there somewhere.                                      10:42:40

     24                   Sir, did you prepare any part of                      10:42:43




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      1    this document?                                                       10:42:45

      2                    MR. MACK:     Objection; form.                       10:42:47

      3            A.      I don't remember.                                    10:42:50

      4            Q.      You don't recall?                                    10:42:51

      5            A.                                                           10:42:52

      6            Q.      Do you remember this document at                     10:42:52

      7    all?    Let me strike that and ask you another                       10:42:54

      8    question.                                                            10:42:57

      9                    Prior to getting involved in this                    10:42:59

     10    case, had you ever seen the '941 patent?                             10:43:00

     11                    MR. MACK:     You can answer yes or                  10:43:04




•
     12            no.                                                          10:43:05

     13            A.      I've seen this document yesterday.                   10:43:07

     14            Q.      No, no, no.     Prior to getting                     10:43:09

     15    involved in this particular case.                                    10:43:11

     16            A.      Okay.   No.    I don't recall that                   10:43:12

     17    I've seen this document.                                             10:43:15

     18            Q.      Okay.   Did you know that you had                    10:43:15

     19    applied for a patent -- you had applied as a                         10:43:18

     20    co-inventor for a patent in the United States                        10:43:21

     21    that ended up issuing as the '941 patent?                            10:43:23

     22            A.      Prior to when I was called, I was                    10:43:26

     23    not really aware anymore.        I might have been                   10:43:29

     24    aware -- I guess I have been aware in the past.                      10:43:31




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      1            Q.     Do you remember anything about the                    10:43:34

      2    invention, the alleged invention that's                              10:43:35

      3    disclosed in the '941 patent?                                        10:43:37

      4            A.     I remember one thing.                                 10:43:41

      5            Q.     Okay.                                                 10:43:42

      6            A.     Which is that when I read the                         10:43:43

      7    meeting minutes, there was a certain point when                      10:43:44

      8    we came back to the discussion on Friday that                        10:43:46

      9    the chairman, Denis at that point in time, had                       10:43:48

    10     to say, actually we examined everything, Samsung                     10:43:53

    11     has the better idea.       And I remember that we                    10:43:56




•
    12     were very happy that somebody had finally                            10:43:58

    13     acknowledged that we had the better idea.                            10:44:00

     14            Q.     What do you understand the                            10:44:02

    15     invention to be that's set forth in the '941                         10:44:03

     16    patent?                                                              10:44:05

     17                   MR. MACK:     Objection; calls for a                  10:44:05

     18            legal opinion.                                               10:44:07

     19            A.     Well, I've not -- have not had so                     10:44:08

     20    much time to prepare and I have not read the                         10:44:11

     21    document in detail ever.                                             10:44:13

     22            Q.     Okay.                                                 10:44:14

     23            A.     Recently.     So what I remember is                   10:44:15

     24    that we had a few problems to work on.        So and                 10:44:18




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      1    also what I saw last week when I tried to look                       10:44:25

      2    around at what the base documents.                                   10:44:28

      3                   So Qua1comm had a paper, I think in                   10:44:30

      4    2004 already, where they noticed two problems.                       10:44:34

      5    And that is one problem was that when SDUs end                       10:44:38

      6    up in two PDUs, then you increase the SDU error                      10:44:41

      7    rate.    Because as soon as you lose one of the                      10:44:45

      8    PDUs, you lose your SDU.                                             10:44:48

      9            Q.     Okay.    So that was the first                        10:44:49

     10    problem that they identified?                                        10:44:51

     11            A.     Yeah.                                                 10:44:53




•
     12            Q.     Okay.                                                 10:44:53

     13            A.     So it would be nice if you had                        10:44:54

     14    some -- they were proposing a mechanism to make                      10:44:55

     15    sure that that doesn't happen, that an SDU ends                      10:44:57

     16    up in one PDU and not over two.                                      10:45:00

     17            Q.     Right.                                                10:45:02

     18            A.     And then they also highlighted that                   10:45:03

     19    actually our transport of especially small SDUs                      10:45:05

     20    is not so efficient.     We have significant                         10:45:09

     21    overhead.    And they proposed a way to solve that                   10:45:12

     22    to some extent.                                                      10:45:15

     23            Q.     Okay.                                                 10:45:16

     24                   MR. GUNTHER:    Let me mark as an                     10:45:17




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      1                    And this was presented, is it your                   10:47:24

      2    understanding that, from looking at the document                     10:47:26

      3    and based on your recollection, that the                             10:47:28

      4    document was presented during the meeting No. 43                     10:47:30

      5    of the RAN 2 working group in the August 15                          10:47:33

      6    through 20, 2004 time frame?                                         10:47:37

      7                    MR. MACK:    Objection to form;                      10:47:40

      8            foundation,    calls for speculation.                        10:47:41

      9            A.      So not based on my recollection, as                  10:47:43

    10     I said I have no recollection, but from the date                     10:47:46

     11    on the document it seems it is a document from                       10:47:48




•
     12    that.                                                                10:47:50

     13            Q.      And,   sir, to the best of your                      10:47:50

     14    recollection that's a meeting that was held in                       10:47:52

    15     Prague, is a meeting that you attended; correct?                     10:47:54

    16             A.      I must have been, because I only                     10:47:58

    17     missed the Chinese meeting.                                          10:47:59

    18             Q.      We sort of did that before?                          10:48:01

     19            A.      Yeah, exactly.                                       10:48:02

    20             Q.      All right.                                           10:48:03

    21                     Sir, where in the document that                      10:48:04

    22     we've marked as Exhibit 3 is there -- you were                       10:48:07

    23     talking about the two problems that Qualcomm had                     10:48:11

     24    identified.     Where are they set forth in the                      10:48:13




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      1    document?                                                            10:48:15

      2             A.        So if you look at page 3.                         10:48:17

      3             Q.        Yes.                                              10:48:20

      4             A.        So I found this document also last                10:48:20

      5    week, so that's why.                                                 10:48:23

      6                       Below there is a table type of                    10:48:25

      7    thing.        The paragraph below highlights this                    10:48:26

      8    problem when SDUs are over two PDUs.           So you                10:48:29

      9    need a higher BLER to just get the same SDU                          10:48:34

     10    error rate.        You need a lower block error rate.                10:48:41

     11    I can read the sentence.                                             10:48:52




•
     12             Q.        Sir, let me just ask you a couple                 10:48:53

     13    of questions about that.         When did you first                  10:48:55

     14    find out that you were going to be a witness in                      10:48:57

     15    this case?                                                           10:48:58

     16             A.        I think Edward contacted me a few                 10:48:59

     17    weeks ago and only last week I heard that it                         10:49:02

     18    would be now.                                                        10:49:05

     19             Q.        Okay.   And, sir, at some point did               10:49:06

     20    you do a search for documents, as part of the                        10:49:10

     21    work that you were doing to get ready for this                       10:49:13

     22    deposition?                                                          10:49:15

     23             A.       Last week I looked through a few                   10:49:15

     24    documents.                                                           10:49:17




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      1             Q.     Last week, okay.                                     10:49:17

      2                    Was that the first time you were                     10:49:19

      3    asked to look for documents?                                         10:49:20

      4             A.     I was never asked to look.      I                    10:49:22

      5    looked myself just to understand technically                         10:49:24

      6    again what was it about.                                             10:49:26

      7             Q.     Okay.    Were you asked by Samsung to                10:49:27

      8    gather any documents for purposes of submission                      10:49:29

      9    to Apple's lawyers in this case?                                     10:49:31

    10              A.     I was asked to do searches on --                     10:49:33

     11    last week.                                                           10:49:37




•
     12             Q.     Last week, okay.                                     10:49:37

    13                     Tell me what you did in terms of                     10:49:38

     14    searches.                                                            10:49:40

     15                    MR. MACK:    I ' l l just instruct you               10:49:41

     16             not to -- if you had any communications                     10:49:43

     17             with Samsung attorneys about how to conduct                 10:49:45

    18              the searches, I wouldn't go into specific                   10:49:47

     19             details.   But just whether or not you                      10:49:50

     20             conducted a search is okay.     What locations              10:49:52

     21             you searched.                                               10:49:54

     22             Q.     What I'm asking you is what you                      10:49:54

     23    did.     I'm not asking you who you talked to or                     10:49:57

     24    anything like that.       I appreciate his comment,                  10:49:59




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      1    I'm just asking you what you did.                                    10:50:01

      2             A.     So we did searches.     But it turned                10:50:02

      3    out that it took too long, we had too many                           10:50:04

      4    documents on our, at least on my hard disk, and                      10:50:08

      5    also there wasn't too much documents.                                10:50:10

      6             Q.     Were you doing the searches with                     10:50:12

      7    Mr. Van·Der Velde?                                                   10:50:13

      8             A.     Well, of course we did them                          10:50:15

      9    independently.                                                       10:50:17

     10             Q.     Okay.   But you knew he was                          10:50:17

     11    searching and you were searching, you talked to                      10:50:18




•
     12    each other about that; is that correct?                              10:50:20

     13             A.     We have a shared office, so.                         10:50:22

     14             Q.     Okay.   So it was natural that you'd                 10:50:23

     15    be looking for documents at the same time;                           10:50:25

     16    right?                                                               10:50:27

     17                    MR. MACK:     Objection; form.                       10:50:29

     18             A.     I guess so.                                          10:50:30

     19             Q.     Okay.                                                10:50:31

     20             A.     We were both asked to prepare and                    10:50:32

     21    both -- so it turned out to take two and a half                      10:50:34

     22    hours,    so we would run out of time.     So in the                 10:50:37

     23    end I think -- in the end the whole hard disk                        10:50:39

     24    was copied and then given to our ...                                 10:50:42




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     1             Q.     Okay.   So your entire hard disk was                  10:50:47

      2    copied and given to Samsung's counsel?                               10:50:50

      3            A.     Yes.                                                  10:50:52

      4            Q.     How long a process did that take?                     10:50:52

      5            A.     To make this copy, you mean?                          10:50:54

      6            Q.     Yes.                                                  10:50:55

      7            A.     That turned out something like                        10:50:56

      8    three hours or so, to make a copy.                                   10:50:58

      9            Q.     Okay.   Do you know how much data                     10:51:00

    10     you had on your hard disk, hard drive, I should                      10:51:02

    11     say?                                                                 10:51:06




•
    12             A.     I think the copy was 250 gig.                         10:51:06

    13             Q.     250 gig?                                              10:51:09

    14             A.     Yeah.                                                 10:51:10

    15             Q.     Did it go back to all the way to                      10:51:10

     16    the beginning of your time at the company?                           10:51:13

    17             A.     Yes.                                                  10:51:15

    18             Q.     Okay.                                                 10:51:15

    19             A.     But not every -- so for example I                     10:51:17

     20    have lost or I have removed, I don't know, but                       10:51:20

     21    my emails up to 2005.      I also had a different                    10:51:21

     22    system for my own storage, I had a bad system of                     10:51:24

     23    using too many different files, so I could never                     10:51:28

     24    find anything anyways.                                               10:51:31




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      1            Q.      Prior to   -- and this happened about                10:51:33

      2    what, two weeks ago?                                                 10:51:35

      3            A.     Last week.                                            10:51:36

      4            Q.     Last week.                                            10:51:36

      5                    Prior -- what day last week did                      10:51:38

      6    that happen?                                                         10:51:40

      7            A.      So the end of last week and in the                   10:51:41

      8    weekend.     Thank you for that.                                     10:51:43

      9            Q.      Okay.    I'm sorry about that.                       10:51:44

    10                     So it started on Friday of last                      10:51:46

    11     week?                                                                10:51:48




•
    12             A.      No, I think it started on                            10:51:48

    13     Wednesday.     So through Thursday we found out                      10:51:50

    14     that we would never finish the searches.                             10:51:52

    15             Q.      Okay.    And then basically the                      10:51:54

    16     copying of the hard drive in its entirety?                           10:51:56

    17             A.      Friday we got help and Saturday we                   10:51:59

     18    copied the hard disk.                                                10:52:02

    19             Q.      Did you provide any hard copy                        10:52:03

     20    documents to Samsung's counsel?                                      10:52:05

     21            A.      Paper?                                               10:52:07

     22            Q.      Yes.                                                 10:52:07

     23            A.      No.                                                  10:52:08

     24            Q.      Okay.    Do you keep any paper in                    10:52:08




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      1    your office?                                                         10:52:09

      2            A.     We keep paper, but that wouldn't be                   10:52:10

      3    anything else than -- like I, as the only                            10:52:13

      4    delegate in the room, I had this habit of                            10:52:16

      5    printing all the documents.                                          10:52:18

      6            Q.     Okay.                                                 10:52:20

      7            A.     So then I stored them in my office.                   10:52:20

      8    Like the last four years or the last few years,                      10:52:22

      9    I throw them away immediately in the airport.                        10:52:25

     10    So I have paper    copi~s   of a lot of the old                      10:52:28

     11    documents.                                                           10:52:31




•
     12            Q.      Prior to last week, were you told                    10:52:31

     13    by anyone that you should preserve documents                         10:52:33

     14    that related to the work that you did on the                         10:52:35

     15    standards committee as a result of the                               10:52:36

     16    litigation between Apple and Samsung?                                10:52:38

     17            A.     I think we, at some point had to                      10:52:41

     18    say yes to a question that we would preserve and                     10:52:44

     19    also be willing to share any documents.                              10:52:46

     20            Q.     When did that happen?                                 10:52:49

     21            A.     I don't recall exactly, but I guess                   10:52:50

     22    something like one and a half months or so.                          10:52:54

     23            Q.     One and a half to two months, okay,                   10:52:57

     24    all right.                                                           10: 53: 00



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      1                   And, sir, during that one and a                       10:53:01

      2    half, two-month time, did you -- let me ask you                      10:53:03

      3    this:    Is your computer set up in any way to                       10:53:06

      4    periodically delete files?                                           10:53:09

      5            A.     No.                                                   10:53:13

      6            Q.     Okay.     Does your computer delete                   10:53:13

      7    emails after a period of time that are left in                       10:53:17

      8    your in box?                                                         10:53:20

      9            A.     No.                                                   10:53:21

     10            Q.     And, sir, are you aware of any                        10:53:21

     11    documents that over the last year and a half                         10:53:25




•
     12    that you had in your possession relating to your                     10:53:28

     13    work on standards bodies that were not turned                        10:53:30

     14    over or not available to be turned over to                           10:53:33

     15    Samsung's counsel?                                                   10:53:35

     16            A.     No.                                                   10:53:37

     17            Q.     Okay.     Have you modified your                      10:53:38

     18    behavior in any way in terms of your saving                          10:53:42

     19    documents in the last month and a half as a                          10:53:44

     20    result of reading that notice?                                       10:53:47

     21            A.     No.     Well, actually, I have now                    10:53:49

     22    planned to store all the RAN 2 reflector                             10:53:52

     23    documents from now on.       So I threw them away                    10:53:55

     24    after some time, because they became too big.                        10:53:57



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      1             instruct you not to answer.                                 12:06:31

      2             A.      No, I don't recall any discussion                   12:06:31

      3    with In.      Really I think he was working on                       12:06:34

      4    different things during that time, so it would                       12:06:37

      5    be a surprise if he really presented.                                12:06:39

      6             Q.     All right, all right.                                12:06:40

      7             A.      I think also this secretary stopped                 12:06:41

      8    at some point to -- but at least we stopped in                       12:06:43

      9    RAN 2 to list the presenter name in the                              12:06:46

    10     document.                                                            12:06:48

    11              Q.      But that was after this?                            12:06:48




•
    12              A.      Yeah.                                               12:06:49

    13              Q.      So In is listed as the presenter of                 12:06:50

    14     this document?                                                       12:06:52

    15              A.      Yeah.   But I guess we stopped                      12:06:53

    16     because we found problems with getting the right                     12:06:55

    17     names.                                                               12:06:57

    18              Q.      Okay.   Sir, let me ask you, if you                 12:06:57

    19     could look at Exhibit 7.      And this document was                  12:06:59

     20    presented to the RAN 2 working group during                          12:07:04

     21    in connection with the meeting that took place                       12:07:06

     22    in May of 2005 during the May 9th to May 13th                        12:07:08

     23    time frame; right?                                                   12:07:13

     24             A.      That's what the cover says.                         12:07:13




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      1             Q.     You have no reason to doubt that;'                   12:07:15

      2    right?                                                               12:07:16

      3             A.     No reason to doubt.                                  12:07:16

      4             Q.     Okay.   And, sir, that is, if you'd                  12: 07: 17

      5    look back at the front page of Exhibit 1, the                        12:07:19

      6    patent, the '941 patent, that is within days,                        12:07:23

      7    within, you know, five days of the filing of the                     12:07:28

      8    Korean application; right?                                           12:07:32

      9             A.     That's five days, yes.                               12: 07: 34

     10             Q.     Okay.   Do you recall, sir, given                    12:07:35

     11    that closeness in time between the filing of the                     12:07:40




•
     12    application and the presentation of Exhibit 7 to                     12:07:43

     13    the RAN 2 working group, do you recall ever                          12:07:46

     14    considering whether or not the fact that the                         12:07:48

     15    patent had been -- the patent application had                        12:07:51

    16     been filed should be disclosed in some way to                        12:07:54

     17    either ETSI or to the 3GPP group?                                    12:07:56

     18                    MR. MACK:   Again, I'll object and                   12:07:59

     19             instruct you not to answer to the extent                    12:08:00

     20             you've had any -- it will reveal                            12:08:03

     21             communications with attorneys, but                          12:08:06

     22             otherwise.                                                  12:08:07

     23             A.     No, I think in general I'm not                       12:08:08

     24    involved in disclosure, in, how do you call                          12:08:10




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     1     this, this mentioning to the SDOs, I've never                        12:08:13

     2     considered really.                                                   12:08:16

      3            Q.      Okay, all right.                                     12:08:17

      4                    I mean, that's just something you                    12:08:17

      5    don't get involved in at all; right?                                 12:08:18

      6            A.      Right, correct.                                      12:08:20

      7            Q.      Let's look at Exhibit 7.     And do                  12:08:21

      8    you recall contributing to this document?                            12:08:24

      9            A.      No.                                                  12:08:25

    10             Q.      Do you recall whether -- at this                     12:08:26

    11     point in time, which is the May 2005 time frame,                     12:08:28




•
    12     as between you and the two co-inventors on the                       12:08:32

    13     '941 patent, would you be more likely to have                        12:08:37

    14     written this proposal than one of the others?                        12:08:39

    15                     MR. MACK:    Objection; calls for                    12:08:42

    16             speculation, form.                                           12:08:43

    17             Q.      I'm trying to find out what your                     12:08:44

    18     practice was at that time.                                           12:08:46

    19             A.      The practice would      I would                      12:08:47

     20    assume, but it's speculation, that SK has                            12:08:48

    21     written it.     I probably would have reviewed it                    12:08:50

     22    and corrected it.     And if there is control plane                  12:08:53

     23    aspects, maybe then Himke would also have a                          12:08:55

     24    little bit contributed.                                              12:08:58




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      1            Q.     This kind of a document, would SK                     12:09:00

      2    draft it in English in the first instance?                           12:09:02

      3            A.     Yes.                                                  12:09:04

      4            Q.     Okay.   So he wouldn't do a Korean                    12:09:04

      5    draft first and then have it translated?                             12:09:06

      6                   MR. MACK:   Objection; calls for                      12:09:07

      7            speculation.                                                 12:09:09

      8            A.     I would assume that that would not                    12:09:09

      9    have happened, but it's speculation.                                 12:09:11

     10            Q.     Okay.   Sir, look at, it says                         12:09:12

     11    document for discussion/decision.       Do you see                   12:09:15




•
     12    that?    And the title is "segmentation and                          12:09:17

     13    concatenation for VOIMS."                                            12:09:21

     14            A.     Correct.                                              12:09:24

     15            Q.     What does discussion/decision mean,                   12:09:24

     16    when it says it's a document for                                     12:09:27

     17    discussion/decision, what does that mean?                            12:09:28

     18                   MR. MACK:   Objection; foundation,                    12:09:30

     19            calls for speculation.                                       12:09:31

     20            A.     I don't know actually what                            12:09:32

     21    classifications we all have.      But I think you                    12:09:35

     22    can say information, that you don't want the                         12:09:37

     23    group to come to any conclusion on the document.                     12:09:39

     24    And if you say discussion/decision, then you                         12:09:43



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